           Case 1:19-cr-00745-RMB Document 37 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                           Government,
                                                                            19 CR. 745 (RMB)
        -against-
                                                                            ORDER
MITCHELL MCPHEE,
                           Defendant.
-------------------------------------------------------------X

        The Court will hold telephone status conferences on Tuesday, October 27, 2020 at 9:00
AM and on Wednesday, November 4, 2020 at 12:00 PM.

        Participants, members of the public and the press can use the following dial-in
information:


        USA Toll-Free Number: (877) 336-1829
        Access Code: 6265989
        Security Code: 0745


Dated: October 21, 2020
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
